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 6
                                 UNITED STATES DISTRICT COURT
 7
                                        DISTRICT OF NEVADA
 8
     RONALD L. BISHOP,
 9

            Plaintiff,                                            Case No.
10

     vs.
11


12   TRANS UNION LLC                                              JURY DEMANDED

13
            Defendants.
14


15                                            COMPLAINT

16
                                              JURISDICTION
17
            1.      The jurisdiction ofthis Court attains pursuant to the FCRA, 15 U.S.C. Section
18
     168I(p), and the doctrine ofsupplemental jurisdiction. Venue lies in the Southern Division of
19
     the Judicial District of Nevada as Plaintiffs claims arose from acts ofthe Defendant(s)
20
     perpetrated therein.
21


22
                                      PRELIMINARY STATEMENT
23
            2.      The Plaintiff brings this action for damages based upon Defendant's violations of
24
     the Fair Credit Reporting Act, 15 U.S.C § 1681 et seq. (hereinafter referred to as "FCRA"),and
25
     of state law obligations brought as supplemental claims.
26
            3.      Plaintiff is a natural person and is a resident and citizen ofthe State of Nevada
27
     and ofthe United States. Plaintiff is a "consumer" as defined by § 1681a(c) ofthe FCRA.
28




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